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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )            CR 122-031
                                              )
JEFFREY MITCHELL GRANADE                      )
HEATHER NICOLE DISHER                         )
DANA ALEXANDER RAU                            )
                                         __________

                                         ORDER
                                         __________

       In consideration of the oral motion made by defense counsel at the initial appearance

and arraignment, the Court GRANTS an extension of time for filing Defendants’ pretrial

motions. All pretrial motions must be filed within ninety days of the date of arraignment. The

government shall have fourteen days to respond to any defense motion, except that in multiple-

defendant cases the government may file a joint response within fourteen days after all defense

motions have been filed. Furthermore, any motions by the government related to pretrial

discovery must be filed at the time of the government’s joint response to defense motions.

Counsel shall file a separate motion for each relief sought and not file a consolidated motion.

       The Court finds, as a matter of fact and law, that the extended motions period given

herein is not for the purpose of delay, but in the furtherance of justice, and to protect

Defendants’ right to a fair trial given the timing and volume of discovery produced by the

government. The Court also finds that the extension is for the purpose of allowing reasonable

time necessary, assuming the exercise of due diligence, for the effective preparation of defense

counsel. Therefore, pursuant to 18 U.S.C. § 3161(h)(7), the Court finds that the ends of justice
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served by granting an extended motions period outweigh the best interests of the public and

Defendants in a speedy trial. The period of delay resulting from this extension - April 22,

2022, through and including July 21, 2022 - is excluded in computing the time within which

the trial of this matter may commence.

       Pretrial motions received by the Clerk outside the required period shall not be filed

without leave of Court. Untimely motions will not be considered absent a showing of good

cause for failure to file within the time set by the Court.

       The government and defense counsel are reminded of their responsibility under Local

Criminal Rule 16.1 to confer regarding discovery in this case. In light of the government’s

customary practice of providing liberal discovery, many (if not all) of the routine discovery

motions filed by a defendant may be satisfied without the need for Court intervention. The

Court will conduct a motions hearing to consider any unresolved motions. Prior to scheduling

any such hearing, the Court will ask the parties to specify which motions (if any) remain in

dispute.

       Pursuant to the Due Process Protections Act, the Court confirms the government’s

obligation to produce all exculpatory evidence to Defendants pursuant to Brady v. Maryland,

373 U.S. 83 (1963), and its progeny, and ORDERS it to do so. Failing to do so in a timely

manner may result in consequences, including but not limited to exclusion of evidence, adverse

jury instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.

       If the government intends to use at trial evidence of “other crimes, wrongs or acts”

under Federal Rule of Evidence 404(b), it must comply with the Court’s Local Rules regarding

this type of evidence. Loc. Crim. R. 16.2; see also Loc. Crim. R. 12.3. If the government

intends to use 404(b) evidence, its notice, in whatever form the government chooses to use,

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must be filed within twenty days after the arraignment and must outline in general form the

evidence to be offered and provide a memorandum of law stating the purpose(s) for which the

evidence will be offered and case law supporting the government’s position.

       Unless otherwise instructed by the presiding District Judge, counsel are instructed to

file all requests to charge and proposed voir dire questions at least seven days before jury

selection.   Counsel representing indigent clients must make their requests for witness

subpoenas or writs for the production of prisoner witnesses at least ten work days before the

evidentiary hearing or trial, whichever is applicable. Counsel’s requests for witness subpoenas

must articulate specific facts demonstrating both the relevancy and necessity of the requested

witnesses’ testimony. United States v. Rinchack, 820 F.2d 1557, 1566 (11th Cir. 1987).

       Finally, defense counsel are reminded that dissemination of discovery material beyond

that necessary to the preparation of the defense is prohibited by Local Criminal Rule 16.1.

Any discovery material turned over to a defendant shall be maintained by that defendant and

not further disseminated.     Failure to comply with the terms of this Order regarding

dissemination of discovery material may result in contempt proceedings.

       SO ORDERED this 22nd day of April, 2022, at Augusta, Georgia.




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